Case 2:23-md-03080-BRM-RLS   Document 186   Filed 05/28/24   Page 1 of 21 PageID:
                                   2569
Case 2:23-md-03080-BRM-RLS   Document 186   Filed 05/28/24   Page 2 of 21 PageID:
                                   2570
Case 2:23-md-03080-BRM-RLS   Document 186   Filed 05/28/24   Page 3 of 21 PageID:
                                   2571
Case 2:23-md-03080-BRM-RLS   Document 186   Filed 05/28/24   Page 4 of 21 PageID:
                                   2572
Case 2:23-md-03080-BRM-RLS   Document 186   Filed 05/28/24   Page 5 of 21 PageID:
                                   2573
Case 2:23-md-03080-BRM-RLS   Document 186   Filed 05/28/24   Page 6 of 21 PageID:
                                   2574
Case 2:23-md-03080-BRM-RLS   Document 186   Filed 05/28/24   Page 7 of 21 PageID:
                                   2575
Case 2:23-md-03080-BRM-RLS   Document 186   Filed 05/28/24   Page 8 of 21 PageID:
                                   2576
Case 2:23-md-03080-BRM-RLS   Document 186   Filed 05/28/24   Page 9 of 21 PageID:
                                   2577
Case 2:23-md-03080-BRM-RLS   Document 186   Filed 05/28/24   Page 10 of 21 PageID:
                                   2578
Case 2:23-md-03080-BRM-RLS   Document 186   Filed 05/28/24   Page 11 of 21 PageID:
                                   2579
Case 2:23-md-03080-BRM-RLS   Document 186   Filed 05/28/24   Page 12 of 21 PageID:
                                   2580
Case 2:23-md-03080-BRM-RLS   Document 186   Filed 05/28/24   Page 13 of 21 PageID:
                                   2581
Case 2:23-md-03080-BRM-RLS   Document 186   Filed 05/28/24   Page 14 of 21 PageID:
                                   2582
Case 2:23-md-03080-BRM-RLS   Document 186   Filed 05/28/24   Page 15 of 21 PageID:
                                   2583
Case 2:23-md-03080-BRM-RLS   Document 186   Filed 05/28/24   Page 16 of 21 PageID:
                                   2584
Case 2:23-md-03080-BRM-RLS   Document 186   Filed 05/28/24   Page 17 of 21 PageID:
                                   2585
Case 2:23-md-03080-BRM-RLS   Document 186   Filed 05/28/24   Page 18 of 21 PageID:
                                   2586
Case 2:23-md-03080-BRM-RLS   Document 186   Filed 05/28/24   Page 19 of 21 PageID:
                                   2587
Case 2:23-md-03080-BRM-RLS   Document 186   Filed 05/28/24   Page 20 of 21 PageID:
                                   2588
Case 2:23-md-03080-BRM-RLS   Document 186   Filed 05/28/24   Page 21 of 21 PageID:
                                   2589
